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                                                                 FILED: March 26, 2025

                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

                                    ___________________

                                         No. 25-1043
                                  (1:08-cv-00827-LMB-JFA)
                                    ___________________

        SUHAIL NAJIM ABDULLAH AL SHIMARI; SALAH HASAN NUSAIF
        JASIM AL-EJAILI; ASA'AD HAMZA HANFOOSH AL-ZUBA'E

                    Plaintiffs - Appellees

         and

        TAHA YASEEN ARRAQ RASHID; SA'AD HAMZA HANTOOSH AL-
        ZUBA'E

                    Plaintiffs

        v.

        CACI PREMIER TECHNOLOGY, INCORPORATED

                    Defendant and 3rd-Party Plaintiff - Appellant

         and

        TIMOTHY DUGAN; CACI INTERNATIONAL, INCORPORATED; L-3
        SERVICES, INCORPORATED

                    Defendants

        v.

        UNITED STATES OF AMERICA; JOHN DOES 1-60

                    Third Party Defendants - Appellees
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                                       ___________________

                                            ORDER
                                       ___________________

               Upon consideration of submissions relative to the motion to file separate

        briefs and exceed length limitations, the court grants the motion. The third party

        defendant-appellees and the plaintiff-appellees shall file separate briefs not to

        exceed 14,500 words each by May 1, 2025.

               All parties to a side shall continue to share time for oral argument provided

        by this court's Local Rule 34(d).

                                                  For the Court--By Direction

                                                  /s/ Nwamaka Anowi, Clerk
